Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 1 of 50

MURDER ele UTTER eR CYt tam dee Mer: tao

Case Marine Construction International, LLC
Debtor name

Southern District of Florida
United States Bankruptcy Court for the:,

{State)
Case number (If known): 23-11357-PGH

 

 

[- ]check if this is an
amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals

ie Summary of Assets

1. Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

12/15

 

1a. Real property: 0.00
Copy line 88 from Schedule A/B $e

 

1b. Total personal property: $ .
Copy line 91A from Schedule A/B

 

 

1c. Total of all property: § 0.00
Copy line 92 from Schedule A/B

 

 

 

Ea Summary of Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D) : - 650.000 00
Copy fhe total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D _ $__

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

3a. Total claim amounts of priority unsecured claims: po 11 672.78
Copy the total claims from Part 1 from line Ga Of SCHECUIC E/F oe cccccccccsseererscecsessessscssscssscecccssssssectevesetsereesseccassceeaenanens : $e
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F

+s _1,524,420.32

 

4. Total liabilities ec ecseessueenneesesssecssesnsesssesssestsensseeseasesssssssoessscesersosctssessssesecssssussessaressssenieesesuissnnesseorsnsssateracesenseess g _2,186,093.10
Lines 2 + 3a + 3b a

 

 

 

Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1
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MURR CLUE Creme Calista iRer:Ct st

Debtor name Case Marine Construction International, LLC

 

United States Bankruptcy Court for the: Southern District of Florida

23-11357-PGH

Case number (if known):

C] Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized, In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

(2 No. Go to Part 2,
Yes. Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of debtor’s
interest
2. Cash on hand ¢ 0.00

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

 

 

 

 

 

Name of institution (bank or brokerage firm) Type of account Last 4 digits of account number
3.1, PNC Bank Checking Le 3 Unknown
3.2, Grove Bank & Trust Checking g 0.00

4. Other cash equivalents (identify ail)
4.1.
4.2.

5. Total of Part 1 $0.00
Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 

 

 

Ea Deposits and prepayments

6. Does the debtor have any deposits or prepayments?
No. Go to Part 3.
CQ Yes. Fill in the information below.

Current value of
debtor’s interest
7. Deposits, including security deposits and utility deposits
Description, including name of holder of depesit
7.1.

 

7.2.

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 1
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 3 of 50

Debtor Case Marine Construction International, LLC

x Case number (if known), 23-11357-PGH

8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Description, including name of holder of prepayment

 

 

 

8.1. $
8.2. $

9. Total of Part 2. 5
Add lines 7 through 8. Copy the total to line 81.

 

 

 

ae Accounts receivable

10. Does the debtor have any accounts receivable?
No. Go to Part 4.

1 Yes. Filt in the information below.

Current value of debtor’s

 

 

 

 

 

 

 

interest
11. Accounts receivable
11a. 90 days old or less: - = eee > $
face amount doubtful or uncollectible accounts
11b. Over 90 days old: - F ecccees > $
face amount doubtful or uncollectible accounts
12. Total of Part 3 $
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
ae Investments
13. Does the debtor own any investments?
No. Go to Part 5.
CJ Yes. Fill in the information below.
Valuation method Current value of debtor's

used for current value interest
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:
14.1. $
14.2,

 

15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
including any interest in an LLC, partnership, or joint venture

Name of entity:
15.1.

% of ownership:

 

 

 

 

 

 

 

% $

18.2. ao $
16. Government bonds, corporate bonds, and other negotiable and non-negotiable

instruments not included in Part 1

Describe:

16.1. $

16.2. 5
17. Total of Part 4 $

Add lines 14 through 16. Copy the total to line 83.

 

 

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 2
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 4 of 50

Case Marine Construction international, LLC 23-11357-PGH

Debtor Case number (if known)

 

Name

Ee Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
No. Go to Part 6.

Q Yes. Fill in the information below.

General description Date of the last Net book value of Valuation method used Current value of
physical inventory debtor's interest for current value debtor’s interest

(Where available)
19. Raw materials

 

MM /DDIYYYY $ $

 

20. Work in progress

 

 

MM /DD/YYYY $. §

21. Finished goods, including goods held for resale

 

 

 

 

 

MM /DD/YYYY $ §
22, Other inventory or supplies
MM /DD/YYYY $ $
23. Total of Part 5 $
Add lines 19 through 22. Copy the total to line 84.

 

 

 

24. ts any of the property listed in Part 5 perishable?
C2 No

C) Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
Q) No

CL) Yes. Book value Valuation method Current value

26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

CI No
(] Yes

Eo Farming and fishing-related assets (other than titled motor vehicles and land)

 

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
No. Go to Part 7.

CL) Yes. Fill in the information below.

General description Net book value of — Valuation method used Current value of debtor’s
debtor's interest for current value interest

(Where available)
28. Crops—either planted or harvested

 

 

 

 

 

 

$ $
29. Farm animals Examples: Livestock, poultry, farm-raised fish

§ $
30. Farm machinery and equipment (Other than titled motor vehicles)

$ $
31. Farm and fishing supplies, chemicals, and feed

$ $
32. Other farming and fishing-related property not already listed in Part 6

$ $.

 

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 3
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 5 of 50

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor Case Marine Construction international, LLC Case number (it known) 23-11357-PGH
Name
33. Total of Part 6. $
Add lines 28 through 32. Copy the total to line 85.
34. Is the debtor a member of an agricultural cooperative?
CI No
C) Yes. Is any of the debtor's property stored at the cooperative?
CL} No
C) Yes
35, Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
LC] No
C) Yes. Book value $ Valuation method Current value $
36. Is a depreciation schedule available for any of the property listed in Part 6?
[3 No
C) Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
C] No
QO Yes
Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
No. Go to Part 8.
(2 Yes. Fill in the information below.
General description Net book value of Valuation method Current value of debtor’s
debtor's interest used for current value interest
(Where available)
39. Office furniture
$ $
40. Office fixtures
$. $
41. Office equipment, including all computer equipment and
communication systems equipment and software
$ $
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
or baseball card collections; other collections, memorabilia, or collectibles
42.1 $ $
42.2 $ $
42.3 $ -$
43. Total of Part 7.
Add lines 39 through 42. Copy the total to line 86. |
44, Is a depreciation schedule available for any of the property listed in Part 7?
CJ No
C] Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
CJ No
C ves

Official Form 206A/B Schedule A/B: Assets — Real and Personal Property page 4
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 6 of 50

Case Marine Construction International, LLC
Debtor

 

Name

Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

47.

48.

49.

50.

51.

52. Is a depreciation schedule available for any of the property listed in Part 8?

C3 No. Go to Part 9.

Yes. Fill in the information below.

General description

Include year, make, model, and identification numbers (i.e., VIN,
HIN, or N-number)

Case number (it known) 23-11357-PGH

 

Net book value of Valuation method used

debtor's interest

for current value

(Where available)

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

 

 

 

 

 

Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

471 2000 Ford Pickup Truck $ 5 Unknown
472 2003 Ford Truck $ $ Unknown
473 2005 Chevrolet Truck § $ Unknown
47.4 See continuation sheet $ 0.00 $ Unknown
Watercraft, trailers, motors, and related accessories Examples: Boats,

trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1 $ $
48.2 3 $

Aircraft and accessories
49.1 $ $
49.2 $ $

Other machinery, fixtures, and equipment

(excluding farm machinery and equipment

2 Shugart Barges; 1 homemade bard, FMC Linkbelt Crawler Friction

Crane and Boom; Kubota KX121 Mini-Excavator; Miller Welding Unknown
Machine; Small boat trailer; Doosan portable air compressor; John $ 3

Deer 50D mini-excavator; single axel storage trailer; Bri-Mar tandem

axle trash trailer

Totai of Part 8. $ 0.00

Add lines 47 through 50. Copy the total to line 87.

No
C) Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

Official Form 206A/B

W No
C) yes

Schedule A/B: Assets — Real and Personal Property

 

 

page 5

 
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Case Marine Construction International, LLC

Debtor

 

Name

i Real property

54.

Does the debtor own or lease any real property?
No. Go to Part 10.

Q Yes. Fill in the information below.

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23-11357-PGH

Case number (i known)

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

55.1

55.2

$5.3

56.

57.

58.

Nature and extent
of debtor’s interest
in property

Description and location of property

Include street address or other description such as
Assessor Parcel Number (APN), and type of property
(for example, acreage, factory, warehouse, apartment
or office building), if available.

Total of Part 9.

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

Net book value of
debtor's interest

(Where available)

Valuation method used
for current value

Current value of
debtor’s interest

 

 

 

 

 

$, $
$ $.
$. $

$

 

 

 

Is a depreciation schedule available for any of the property listed in Part 9?

Q) No
L] Yes

Has any of the property listed in Part 9 been appraised by a professional within the last year?

Q) No
CQ) Yes

Ea Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?

60.

61.

62.

63.

64,

65.

66.

Official Form 206A/B

No. Go to Part 11.
Q Yes. Fill in the information below.

General description

Patents, copyrights, trademarks, and trade secrets

Net book value of
debtor's interest

(Where available)

Valuation method
used for current value

Current value of
debtor’s interest

 

 

 

 

 

 

 

 

$ $
Internet domain names and websites

$ $.
Licenses, franchises, and royalties

$ $
Customer lists, mailing lists, or other compilations

$ $
Other intangibles, or intellectual property 5

$

Goodwill

§ $
Total of Part 10. §
Add lines 60 through 65. Copy the total to line 89.

Schedule A/B: Assets — Real and Personal Property

 

 

 

page 6
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Name

Debtor Case Marine Construction International, LLC Case number (irknown) 23-11357-PGH

67.

68.

69.

Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

CJ No

C) yes

Is there an amortization or other similar schedule available for any of the property listed in Part 107
() No

C) Yes

Has any of the property listed in Part 10 been appraised by a professional within the last year?

Q) No

C) Yes

ae All other assets

70.

71.

72.

73.

74,

75.

76.

77.

78.

79.

Does the debtor own any other assets that have not yet been reported on this form?

Include all interests in executory contracts and unexpired leases not previously reported on this form.
No. Go to Part 12.

C) Yes. Fill in the information below.

Current value of
debtor's interest
Notes receivable

Description (include name of obligor)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ =» $
Total face amount doubtful or uncollectible amount
Tax refunds and unused net operating losses (NOLS)
Description (for example, federal, state, local)
Tax year $.
Tax year $
Tax year $
Interests in insurance policies or annuities
$
Causes of action against third parties (whether or not a lawsuit
has been filed)
$
Nature of claim
Amount requested $
Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
$
Nature of claim
Amount requested $
Trusts, equitable or future interests in property
$
Other property of any kind not already listed Examples: Season tickets,
country club membership
Total of Part 11.
Add lines 71 through 77. Copy the total to line 90. 8
Has any of the property listed in Part 11 been appraised by a professional within the last year?
CL) No
C) Yes

Official Form 206A/B Schedule AJB: Assets — Real and Personal Property page 7
Debtor

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Case Marine Construction International, LLC

 

Name

ielagieas 2 Summary

In Part 12 copy all of the totals from the earlier parts of the form.

80.

81.

82.

83.

84.

85.

86.

87

88.

89.

90.

91.

92.

Official Form 206A/B

Total of all property on Schedule A/B. Lines 91a + 91b = 92.

23-11357-PGH

Case number (if known),

 

 

 

 

 

 

 

 

Type of property Current value of Current value
personal property of real property
0.00
Cash, cash equivalents, and financial assets. Copy line 5, Part 1. $
0.00
Deposits and prepayments. Copy line 9, Part 2. $
0.00
Accounts receivable. Copy line 12, Part 3. §
0.00
Investments. Copy line 17, Part 4. $
0.00
Inventory. Copy line 23, Part 5. $
0.00
Farming and fishing-related assets. Copy line 33, Part 6. $
Office furniture, fixtures, and equipment; and collectibles. $ 0.00
Copy line 43, Part 7.
0.00
. Machinery, equipment, and vehicles. Copy line 51, Part 8. $
0.00
Real property. Copy line 56, Part 9. . .cececccsssssssscccsssesnsesseavesesesccasssseescseesescasscssvanssecatarsareees > $
9.00
Intangibles and intellectual property. Copy line 66, Part 10. $
. 0.00
All other assets. Copy line 78, Part 11. + §
0.00 0.00
Total. Add lines 80 through 90 for each column. ........cce sees 91a. $ “ gtb. 5

 

0.00

 

 

 

0.00

 

Schedule A/B: Assets — Real and Personal Property

page 8

 
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 10 of 50

Case Marine Construction International, LLC

Debtor 1

 

Firsi Name

Middle Name Last Name

Case number (known)

23-11357-PGH

Continuation Sheet for Official Form 206 A/B

47) Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

2008 Ford Pickup
Truck

2006 Ford Truck

2001 Utility
Trailer

2004 GMC Truck

2004 GDY Vessel

Official Form 206 A/B

Schedule A/B: Property

Unknown

Unknown

Unknown

Unknown

Unknown
Case 23-11357-PGH Doc 25

EUR UM IDC LU eUCUBCM CT i myer: ton

Debtor name

Case Marine Construction International, LLC

 

United States Bankruptey Court for the: Southern District of Florida

Case number (If known): 23-11357-PGH

 

 

Official Form 206D

 

Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor's property?
O21 No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

@ Yes. Fill in all of the information below.

List Creditors Who Have Secured Claims

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C) Check if this is an
amended filing

12/15

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one sum A Fclai Some Hlateral
secured claim, list the creditor separately for each claim. mount of claim alue of collateral
Do not deduct the value that supports this
PE Creditor’s name Describe debtor's property that is subject to a lien of collateral. claim
U.S. Small Business Administration i
| | $650,000.00 ¢ 250,000.00
Creditor's mailing address |
Small Business Administration
Washington, DC 20416
Describe the lien
Creditor’s email address, if known Agreement you made
Is the creditor an insider or related party?
Date debt was incurred fd No
i Last 4 digits of account Q) Yes
: number Is anyone else liable on this claim?
Do multiple creditors have an interest in the U No
same property? 4 Yes. Fill out Schedule H: Codebtors (Official Form 206H).
LA No As of the petition filing date, the claim is:
C} Yes. Specify each creditor, including this creditor, S of the petition tiling date, the claim is:
; Check all that apply.
C) Contingent
| (2 unliquidated
: Q Disputed
Ex] Creditor's name Describe debtor's property that is subject to a lien
s $
|
Creditor’s mailing address |
i
| |
Creditor’s email address, if known |
| |
Describe the lien
Date debt was incurred
Last 4 digits of account
number |
Is the creditor an insider or related party?
Do multiple creditors have an interest in the CO} No
same property? O) ves
1 No | Is anyone else liable on this claim?
C) Yes. Have you already specified the relative O No
priority? Q . , :
Yes. Fill out Schedule H: Ci Official F 206H).
QO) No. Specify each creditor, including this es. Fill out Schedule odebtors (Official Form )
creditor, and its relative priority. As of the petition filing date, the claim is:
i Check all that apply.
} Q Contingent
C1 Yes. The relative priority of creditors is Unliquidated
specified on lines Q Disputed
3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional $ 650,000.00

Page, if any.
Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2

 

 

 
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 12 of 50

Debtor Case Marine Construction International, LLC
Name

a List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

Case number (it known) 23-11357-PGH

 

' Ifo others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
Name and address On which line in Part 1 Last 4 digits of

did you enter the account number
related creditor? for this entity

Line 2.

 

 

Line 2.

 

Line 2.

Line 2.

Line 2.

 

Line 2.

 

Line 2.

 

 

Line 2.

Line 2.

Line 2.

 

 

Line2.

Line 2.

 

Line 2.

Line 2.

Form 206D Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 2
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 13 of 50

EUR UCM CU HCR CoM eT aa mcr Mer: to

Debtor name ase Marine Construction International, LLC

United States Bankruptcy Court for the: SOUthern District of Florida

Case number (If known): 23-41357-PGH Chapter 7

 

 

C] Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 42/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 

1. Does the debtor have any executory contracts or unexpired leases?

Wl No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.

(2 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with

whom the debtor has an executory contract or unexpired lease

_ State what the contract or
2.1 lease is for and the nature
_ of the debtor’s interest

State the term remaining

List the contract number of
any government contract

 

State what the contract or
2.2. lease is for and the nature
of the debtor’s interest

State the term remaining

List the contract number of
any government contract

 

 

 

: _ State what the contract or
| 2.3) lease is for and the nature
: | of the debtor’s interest

State the term remaining
List the contract number of

any government contract

24 _ State what the contract or
_“""* fease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

_ State what the contract or
| 2.5) lease is for and the nature
: _ of the debtor's interest

State the term remaining

List the contract number of
any government contract

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1

 
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UREN Ulm ute ct ks

Debtor Case Marine Construction international, LLC

 

United States Bankruptcy Court for the: Southern District of Florida

23-11357-PGH

Case number
{If known)

 

 

L) Check if this is an
amended filing

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/45

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.

 

a List All Creditors with PRIORITY Unsecured Claims

4. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
(CD No. Go to Part 2.
Yes. Go to tine 2.

_ 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
‘ 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

 

 

 

 

 

Total claim Priority amount
Priority creditor's name and mailing address As of the petition filing date, the claimis: ¢ UJ
i ¢ 1 : nknown
Ba Arislandy Bianco Duarte Check all that apply. $ $
2 Contingent
QO) unliquidated
() Disputed
Basis for the claim:
Date or dates debt was incurred Wages, Salaries, Commissions
Last 4 digits of account Is the claim subject to offset?
number No
: . CQ) Yes
Specify Code subsection of PRIORITY unsecured
____ claim: 11U.S.C. § 507(a)(4_)
Fz Coty eestor name and mailing address As of the petition filing date, the claim is: $ Unknown 5
Check ail that apply.
Q Contingent
QO) unliquidated
QO) Disputed
. Basis for the claim:
Date or dates debt was incurred Wages, Salaries, Commissions
Last 4 digits of t
past A digi $ oF accoun Is the claim subject to offset?
No
Specify Code subsection of PRIORITY unsecured Q) Yes
claim: 11 U.S.C. § 507(a)C4__s)
Priority creditor's name and mailing address og : a ae,
Ey Frollan J. Lopez As of the petition filing date, the claim is: sUnknown 8

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(4_)

Official Form 206E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

Check all that apply.
Q Contingent

Unliquidated
Q) Disputed

Basis for the claim:
Wages, Salaries, Commissions

Is the claim subject to offset?
KJ No
QO) Yes

page 1 of 20.

 
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Debtor Case Marine Construction International, LLC

 

Name

Additional Page

Case number (if knawn) 23-11357-PGH

 

Copy this page if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page. Total claim

[2.2 _|Priority creditor’s name and mailing address

Internal Revenue Service
Department of Treasury
Ogden, UT, 84201-0014

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(8__)

2. ° Priority creditor’s name and mailing address
se A. Gavantes

Date or dates debt was incurred

 

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

la. $ Priority creditor's name and mailing address
lose R. Lopez

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(4_)

 

2. Priority creditor's name and mailing address
Nicaslo Huerta

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( 4)

Official Form 206E/F

311,672.78
As of the petition filing date, the claim is:
Check ail that apply.
C) Contingent
QO Unliquidated
O Disputed

Basis for the claim:

Taxes & Other Government Units

 

Is the claim subject to offset?

& No

Q Yes

3 Unknown
As of the petition filing date, the claim is:
Check aif that apply.
C] Contingent
Q) unliquidated
QO} Disputed

Basis for the claim:

Wages, Salaries, Commissions

 

Is the claim subject to offset?

No
Q) Yes

g Unknown
As of the petition filing date, the claim is:
Check all that apply.
(2 Contingent
C] Unliquidated
C) Disputed

Basis for the claim:

Wages, Salaries, Commissions

 

Is the claim subject to offset?
No

C] Yes

As of the petition filing date, the claim is: $ Unknown

Check all that apply.
Q Contingent
Q unliquidated
C) Disputed

Basis for the claim:

Wages, Salaries, Commissions

 

Is the claim subject to offset?

No
QO Yes

Schedule E/F: Creditors Who Have Unsecured Claims

Priority amount

 

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Debtor Case Marine Construction International, LLC

 

Name

Additional Page

Case number (if known) 23-11357-PGH

 

Copy this page if more space is needed. Continue numbering the lines sequentially from the

previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.

[2.5 Priority creditor’s name and mailing address

Noelvys Casamayor

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(4__)

= Priority creditor's name and mailing address

Ricardo Palomino

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a) ( )

Total claim

sg Unknown
As of the petition filing date, the claim is:
Check all that apply.

Q Contingent
QO) unliquidated
C] Disputed

Basis for the claim:

Wages, Salaries, Commissions

 

Is the claim subject to offset?

(J No

OQ) Yes

 

Priority amount

 

3 Unknown
As of the petition filing date, the claim is:
Check aif that apply.
(2 Contingent
OQ} unliquidated
C) Disputed

Basis for the claim:

Wages, Salaries, Commissions

 

Is the claim subject to offset?

No
QC Yes

 

 

Priority creditor's name and mailing address
Shaye Wiegers

 

 

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
claim: 11 U.S.C. § 507(a)(4_)

la. Priority creditor’s name and mailing address

 

Date or dates debt was incurred

 

Last 4 digits of account
number

Specify Code subsection of PRIORITY unsecured
elaim: 11 U.S.C. § 507(a) ( )

Official Form 206E/F

 

 

g Unknown
As of the petition filing date, the claim is:
Check all that apply.
O Contingent
1 Untiquidated
CJ Disputed

Basis for the claim:

Wages, Salaries, Commissions

 

Is the claim subject to offset?
No

C) Yes

As of the petition filing date, the claim is: $
Check all that apply.

C) Contingent

CJ untiquidated

C] Disputed

Basis for the claim:

 

Is the claim subject to offset?

Q) No
Q Yes

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor Case Marine Construction International, LLC

 

Name

Case number (if known) 23-11357-PGH

 

ia List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
unsecured claims, fill out and attach the Additional Page of Part 2.

Bd
41d

 

w

ronpriority creditor’s name and mailing address
un

49 N. Federal Highway
Suite 268
Pompano Beach, FL, 33062

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and mailing address
AB Pipe and Supply

6500 NW 37th Avenue
Miami, FL, 33147

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor’s name and mailing address
ACF Environmental

1690 Banks Road

Suite A
Pompano Beach, FL, 33063

Date or dates debt was incurred

Last 4 digits of account number

 

Nonpriority creditor's name and mailing address

AFCO Agency USA LLC
1501 NW 12th Avenue
Pompano Beach, FL, 33069

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

All Dade Plumbing, Inc.
11522 SW 126th Terrace
Miami, FL, 33176

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address
Amazon

410 Terry Avenue North

Seattle, WA, 98109

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:

Check ail that apply. § 700.00

Contingent
C) uUnliquidated
Disputed

Services
Basis for the claim:

Is the claim subject to offset?
No
Q) Yes

As of the petition filing date, the claimis:
Check all that apply. $ 50.00

QO} Contingent
Unliquidated
QO Disputed
Basis for the claim:
Suppliers or Vendors

Is the claim subject to offset?

4 No
Q) Yes

As of the petition filing date, the claim is:

Check ail that apply. $ 2,741.98

1 Contingent
QO) Unliquidated
Q) Disputed

Basis for the claim:
Services

Is the claim subject to offset?
td No

. Q) Yes

Amount of claim

 

As of the petition filing date, the claim is: $ 14,278.86

Check all that apply.

O Contingent

OQ) unliquidated
Disputed

Basis for the claim: .
Services

Is the claim subject to offset?

@ No
Q Yes

As of the petition filing date, the claim is: $ 3,013.30

Check all that apply.
C2 Contingent
C) unliquidated
C) Disputed

Basis for the claim: Services

Is the claim subject to offset?
No

O yes.
As of the petition filing date, the claim is: $ 167.32

Check all that apply.
Contingent
Unliquidated
Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?

WY No
Cl Yes

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor Case Marine Construction International, LLC

 

Name

Ga Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

37 Nonpriority creditor’s name and mailing address

As of the petition filing date, the claim is:

Case number (if known) 23-11357-PGH

 

Amount of claim

 

 

 

 

2670 Bird Road
. Miami, FL, 33133

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

 

 

 

Q Contingent
QO unliquidated
() Disputed

Basis for the claim: Services

|s the claim subject to offset?
¥ No

Q Yes

Schedule E/F: Creditors Who Have Unsecured Claims

. . Check all that apply. $ 760.00
AMG Consulting Service, LLC Contingent
10241 SW 84th Court Unliquidated
Miami, FL, 33174 Disputed
Basis for the claim: Services i
Is the claim subject to offset?
Date or dates debt was i d No
ate or dates debt was incurre O Yes
Last 4 digits of account number
; Sons ~ wn o.
. N ditor’ d | id
3. | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 34,542.00
Anje Hark Check all that apply. sense:
1640 Bay Drive Q) Contingent
Miami Beach, FL, 33140 Q) Unliquidated
CQ) Disputed
Basis for the claim:
Date or dates debt was incurred Is the claim subject to offset?
oe “ No
Last 4 digits of account number —— Oo Yes
9 ee : we
. tor’ id id : . teat
3.___ | Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 35,200.00
APA Financial Services Check all that apply. $29) -
. 614.N. Ogden Avenue Q) Contingent
| Suite 100 Q) unliquidated
, Chicago, IL, 60642 C) Disputed
Basis for the claim: Services
Date or dates debt was incurred Is the claim subject to offset?
eos “ No
Last 4 its of t
REE MGS Of accountramer ooo OF Yes _
10 .
Nonpriority creditor’: me and mailing addres
be] onpriority creditor's name and mailing ress As of the petition filing date, the claim is: 10,900.00
AR Electrical Consultants, LLC Check afl that apply. SiN:
9404 SW 8th Terrace (J Contingent
Miami, FL, 33174 2 unliquidated
Q) Disputed
Basis for the claim: Services
Date or dates debt was incurred Is the claim subject to offset?
OQoN
Last 4 digits of account number OQ Yes
. N i ditor’ ind ling add
3. |Nenpriority ere mors name ane maling Fess As of the petition filing date, the claim is: 950.00
Atlantis Marine Towing Check alll that apply. $.YOV.

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Debtor Case Marine Construction International, LLC

 

Name

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Case number (it known) 23-11357-PGH

 

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3,12 Nonpriority creditor's name and mailing address

C&C Concrete Pumping
12599 NW 107th Avenue
Miami, FL, 33178

Date or dates debt was incurred

Last 4 digits of account number

 

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

Q Unliquidated

Q) Disputed

Basis for the claim: Suppliers or Vendors
Is the claim subject to offset?

No
2 Yes

 

 

13

3.____ | Nonpriority creditor's name and mailing address

Calvin and Carolyn Case
7083 Bahama Swallow Avenue
Brooksville, FL, 34613

Date or dates debt was incurred

Last 4 digits of account number

Amount of claim

5 44,218.20

 

As of the petition filing date, the claim is:
Check all that apply.

Contingent
QO Unliquidated

Disputed

Basis for the claim:

ls the claim subject to offset?
“ No

OQ Yes

 

34 Nonpriority creditor's name and mailing address
City of Aventura

PO Box

| Seattle, WA, 98124-5131

Date or dates debt was incurred

Last 4 digits of account number

City of Miami Beach
1700 Convetion Center Drive
Miami Beach, FL, 33139

 

Date or dates debt was incurred

Last 4 digits of account number

3,16 Nonpriority creditor's name and mailing address

Coastal Systems international, Inc.
464 South Dixie Highway
Miami, FL, 33146

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

 

3° Nonpriority creditor’s name and mailing address

As of the petition filing date, the claim is:
Check all that apply.

( Contingent

CQ) unliquidated

C) Disputed

Basis for the claim:

Is the claim subject to offset?
¥ No

Ol yes

As of the petition filing date, the claim is:
Check all that apply.

C] Contingent

Q] Unliquidated

C] Disputed

Basis for the claim:

Is the claim subject to offset?
4 No
C] Yes

As of the petition filing date, the claim is:
Check ail that apply.

(] Contingent

Q Unliquidated

Q Disputed

Basis for the claim: Services

Is the claim subject to offset?
¥ No

C) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

3 Unknown

3158.00

3 102.00

311,600.00

 

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Debtor Case Marine Construction International, LLC

 

Name

ae Additional Page

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3? Nonpriority creditor's name and mailing address

Concrete Connection Services, LLC
12599 NW 107th Avenue
Miami, FL, 33178

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.
Q Contingent

Unliquidated

Disputed

Basis for the claim: Services
Is the claim subject to offset?

No
CQ ves

Amount of claim

5 7,250.00

 

3/8 Nonpriority creditor's name and mailing address

Cousins Surveyors & Associates, Inc.
3921 SW 47th Avenue

Suite 1011

Fort Lauderdale, FL, 33314

Date or dates debt was incurred

Last 4 digits of account number

 

19

3.

_ CTK Contracting Services
4846 N. University Drive
#367

Fort Lauderdale, FL, 33351

 

 

Date or dates debt was incurred

Last 4 digits of account number

Nonpriority creditor's name and mailing address

 

3. 20 Nonpriority creditor's name and mailing address

_ DAS Trucking International LLC
- 17955 46th Court

 

Loxahatchee, FL, 33470

Date or dates debt was incurred

Last 4 digits of account number

324 | Nonpriority creditor's name and mailing address

Decks & Docks Lumber
» 2920 Sw 4th Avenue
Fort Lauderdale, FL, 33315

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

 

As of the petition filing date, the claim is:
Check all that apply.

O Contingent

() unliquidated

C) Disputed

Basis for the claim: Suppliers or Vendors

ts the claim subject to offset?
“. No
Yes

3 1,440.00

 

As of the petition filing date, the claim is:
Check all that apply.

QO) Contingent

 Unliquidated

C) Disputed

Basis for the claim: Services

Is the claim subject to offset?
“ No

Q Yes

As of the petition filing date, the claim is:
Check all that apply.

OQ Contingent

() Unliquidated

() Disputed

Basis for the claim: Services

is the claim subject to offset?
I No
OQ} yes

As of the petition filing date, the claim is:
Check aif that apply.

C2 Contingent

(2 Unliquidated

1 Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?

¥ No

OQ) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

31,660.00

35,419.77

339,018.19

 

 

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Name

Ea Additional Page

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

 

 

Amount of claim

 

 

 

 

 

 

 

 

 

3,22 Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 200.000.00
: Check all that apply. $ , :
DK Holdings II LLC Contingent
1010 Coney Island Avenue Unliquidated
Suite 2 Disputed
Brooklyn, NY, 11230
Basis for the claim: Services
Is the claim subject to offset?
. No
Date or dates debt was incurred Oy.
a es
Last 4 digits of account number
itor’ dd
8 __.. | Nonpriority creditor’s name and mailing address As of the petition filing date, the claim is: : 4248.17
_ Dynamic Seawall Maintenance & Systems, Inc. Check all that apply. 2
| 994 N. Barfield Drive Q Contingent
: Marco Island, FL, 34145 Q) unliquidated
Q) Disputed
Basis for the claim: Services
Date or dates debt was incurred Is the claim subject to offset?
_ “ No
Past & dlls of account number —————_ O ves
24 oe as oe
S— Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 0.00
El Dorado Towers Condominium Association, Inc. Check all that apply. $M:
_ 3675 N. Country Club Drive Contingent
| #209 Unliquidated
_ Miami, FL, 33180 Disputed
: Basis for the claim:
Date or dates debt was incurred Is the claim subject to offset?
oe “ No
f t
Last 4 digits ° account number . Q Yes _
25 . .
. N i ditor’ d mail dd
b= | onpriority creditor's name and mailing address As of the petition filing date, the claim is: Unknown
Ernie Cambo Check all that apply. $
_ c/o Dana A. Clayton, Esq. (J Contingent
_ 98 SE 7th Street, Suite 1100 (2 Unliquidated
: Miami, FL, 33131 C) Disputed
Basis for the claim:
Date or dates debt was incurred Is the claim subject to offset?
WON
Last 4 digits of account number OQ ves
26 od oe : van .
i itor’ id 1 ddi
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: 8505.78
FDOT Turnpike Enterprise Check all that apply. 52 -
PO Box 310 Q) Contingent
Ocoee, FL, 34761 QC) Unliquidated
: C) Disputed

Basis for the claim:

Date or dates debt was incurred |s the claim subject to offset?
¥ No

oe OF ves

Last 4 digits of account number

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor Case Marine Construction International, LLC

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Name

el Additional Page

 

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

[3 27

Nonpriority creditor's name and mailing address

Ferguson Waterworks Inc.
7851 NW 62nd Street
Miami, FL, 33166

Date or dates debt was incurred

Last 4 digits of account number

Amount of claim

As of the petition filing date, the claim is:
Check ail that apply.
CQ} Contingent
Untiquidated
Q) Disputed

5 1,231.40

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
No
Q Yes

 

3 8 | Nonpriority creditor’s name and mailing address

First Insurance Funding
6115 Stirling Road

#208

Fort Lauderdale, FL, 33314

Date or dates debt was incurred
Last 4 digits of account number

3.2

Florida Bolt & Nut Company
3750 Investment Lane

Suite 5

West Palm Beach, FL, 33404

Date or dates debt was incurred

Last 4 digits of account number

8 Nonpriority creditor's name and mailing address

 

30 |Nonpriority creditor's name and mailing address

, Florida Engineering & Testing, Inc.
— 250 SW 13th Avenue
Pompano Beach, FL, 33069

Date or dates debt was incurred

Last 4 digits of account number

3,37 Nonpriority creditor's name and mailing address

 

- Florida Fence Rental Inc.
8491 NW 64th Street
Miami, FL, 33166

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

 

As of the petition filing date, the claim is:
Check ail that apply. 9 3 71,463.55
Contingent
Unliquidated
() Disputed

Basis for the claim: Monies Loaned / Advanced

Is the claim subject to offset?
“ No

Q) Yes

As of the petition filing date, the claim is:
Check all that apply. 3474.75
QO) Contingent

L} Unliquidated

C) Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
“ No

QO) Yes _

As of the petition filing date, the claim is:
Check all that apply. 34,045.00
QO Contingent

Q) Unliquidated

OQ Disputed

Basis for the claim: Services

Is the claim subject to offset?
(4 No
CD Yes

As of the petition filing date, the claim is:
Check ail that apply. $9,231.91
Q) Contingent
QI Untiquidated

Disputed
Basis for the claim; SUPpliers or Vendors

ds the claim subject to offset?
¥ No

OQ) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

 

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Debtor Case Marine Construction International, LLC

 

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Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.F 32 Nonpriority creditor’s name and mailing address

Florida Fillet Tables & Marine Products, Inc.
2832 Stirling Road

Suite P

Hollywood, FL, 33020

Date or dates debt was incurred

Last 4 digits of account ‘number

3. 8 Nonpriority creditor's Ss name and mailing address

Foundation Technologies, Inc.
1400 Progress industrial Boulevard
Lawrenceville, GA, 30043

Date or dates debt was incurred
Last 4 digits of account number
34
G. Proulx Building Products, LLC

3125 S. Andrews Avenue
Fort Lauderdale, FL, 33316

 

Date or dates debt was incurred

Last 4 digits of account number

 

3° Nonpriority creditor's name and mailing address
George's Crane Service, Inc.

2190 NW 110th Avenue
Miami, FL, 33172

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address

Gravel Shop
5798 SW 23rd Street
Hollywood, FL, 33023

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

3.___ | Nonpriority creditor’s name and mailing address

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent
Q) Untiquidated
Q) Disputed

Basis for the claim: Suppliers or Vendors
Is the claim subject to offset?

No
Ql Yes

Amount of claim

; 632.87

 

As of the petition filing date, the claim is:
Check ail that apply.

Q Contingent

1 Untiquidated

OQ) Disputed

Basis for the claim: Services

Is the claim subject to offset?
“ No

Q) Yes

As of the petition filing date, the claim is:
Check all that apply.

C) Contingent
Unliquidated
Disputed

Basis for the claim: Services

Is the claim subject to offset?
”Y No

Oo Yes

As of the petition filing date, the claim is:
Check all that apply.

CJ Contingent

(J Unliquidated

Cl Disputed

Basis for the claim: Services

Is the claim subject to offset?
I No
QO) yes

As of the petition filing date, the claim is:
Check all that apply.

O Contingent
Unliquidated
Q Disputed

Basis for the claim: Suppliers or Vendors

Js the claim subject to offset?
¥ No

) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

5 63,695.57

317,176.10

3 1,782.50

$11,293.19

 

 

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Debtor Case Marine Construction International, LLC

 

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Case number (if known) 23-11357-PGH

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. if no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.37 Nonpriority creditor's name and mailing address

Harrison Crane Services
2440 NW 37th Street
Miami, FL, 33142

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent

Q unliquidated

C) Disputed

Basis for the claim: Services

Is the claim subject to offset?
No
C) Yes

 

38

3.____ | Nonpriority creditor's name and mailing address

_ Here Rentals
- 3251 SW 26th Terrace
Fort Lauderdale, FL, 33312

Date or dates debt was incurred
Last 4 digits of account number
3.9
- Huckleberry Environmental Services, inc.

_ 670 Palm Avenue West
_ Goodland, FL, 34140

Date or dates debt was incurred

Last 4 digits of account number

In & Out Portables
_ 1480 Skees Road
West Palm Beach, FL, 33411

 

Date or dates debt was incurred

Last 4 digits of account number

31 Nonpriority creditor's name and mailing address

international Construction Associates, Inc.
- 1985 S. Ocean Drive

» Apt. 9G

Hallandale, FL, 33009

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

8 Nonpriority creditor's name and mailing address

3,0 | Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:
Check ail that apply.

Contingent
Unliquidated
Disputed

Basis for the claim: Services

Is the claim subject to offset?
< No

- OQ) Yes /

As of the petition filing date, the claim is:
Check all that apply.

Contingent

OQ Unliquidated

( Disputed

Basis for the claim: Services

Is the claim subject to offset?
¥ No

QO) Yes

As of the petition filing date, the claim is:
Check all that apply.

Q] Contingent

Q] unliquidated

C) Disputed

Basis for the claim: Services

Is the claim subject to offset?
4 No
Yes

As of the petition filing date, the claim is:
Check ail that apply.

O Contingent

Q) Unliquidated

O) Disputed

Basis for the claim: Services

Is the claim subject to offset?
“ No

OQ Yes

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

$3,774.75

$10,301.94

32,000.00

32,960.21

$ 20,544.00

 

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Debtor Case Marine Construction International, LLC

 

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previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3 42

Nonpriority creditor's name and mailing address

_ International Construction Equipment
301 Warehouse Drive
Matthews, NC, 28104

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent

QO) unliquidated

Q) Disputed

Basis for the claim: Services

Is the claim subject to offset?
No
QO) Yes

 

43
Intertek-PS|

_ 7950 NW 64th Street
| Miami, FL, 33166

3 Nonpriority creditor's name and mailing address

Date or dates debt was incurred

Last 4 digits of account number

3,4

| Kimley-Horn

- 2 Athambra Plaza
Suite 500

Miami, FL, 33134

Date or dates debt was incurred

Last 4 digits of account number

4 Nonpriority creditor's name and mailing address

 

3° Nonpriority creditor's name and mailing address

L&M Supply Co., Inc.
1890 NE 150th Street
Miami, FL, 33181

Date or dates debt was incurred
Last 4 digits of account number

3.6 Nonpriority creditor’s name and mailing address

 

. Labor for Hire
- 2818 Hollywood Boulevard
Hollywood, FL, 33020

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

 

Amount of claim

5 32,452.00

 

As of the petition filing date, the claim is:
Check ail that apply.

O Contingent
O) Unliquidated
Cl] Disputed

Basis for the claim: Services

Is the claim subject to offset?
< No

OQ) Yes

As of the petition filing date, the claim is:
Check ail that apply.

Contingent

Unliquidated

Disputed

Basis for the claim: Services

Is the claim subject to offset?
Y No

Oves

As of the petition filing date, the claim is:
Check all that apply.

C] Contingent

 Unliquidated

C] Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
4 No
QO ves

As of the petition filing date, the claim is:
Check all that apply.
QO Contingent
1 unliquidated
Disputed

Basis for the claim: Services

Js the claim subject to offset?
¥ No

C) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

$3,740.00

36,000.00

3 2,776.88

$3,124.00

 

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Debtor Case Marine Construction International, LLC

 

Name

a Additional Page

Case number (if known) 23-11357-PGH

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

[3 47

Nonpriority creditor's name and mailing address

Longitude Surveyors, LLC
7769 NW 48th Street
Suite 375

Miami, FL, 33166

Date or dates debt was incurred

Last 4 digits of account number
5 a Tet te

Nonpriority creditor’s name and mailing address

M&S Heavy Equipment Service Inc.
5800 Rodman Street
Hollywood, FL, 33023

Date or dates debt was incurred

Last 4 digits of account number

 

34

“Marina Products & Equipment
245 SW 33rd Street

Fort Lauderdale, FL, 33315

 

Date or dates debt was incurred

Last 4 digits of account number

8 Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:
Check all that apply.

(1) Contingent

Q unliquidated

C Disputed

Basis for the claim: Services

is the claim subject to offset?
No
Q Yes

As of the petition filing date, the claim is:
Check all that apply.

O) Contingent

QO Unliquidated

Q Disputed

Basis for the claim: Services

Is the claim subject to offset?
“ No

Q Yes

As of the petition filing date, the claim is:
Check all that apply.
{) Contingent

Unliquidated

Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
“ No

. C] Yes

 

[3.22_ |Nonpriority creditor’s name and mailing address

Matthew and Elizabeth Allen
| 1420 NE 101st Street
_ Miami, FL, 33138

Date or dates debt was incurred

Last 4 digits of account number

3.2" Nonpriority creditor's name and mailing address

Miami-Dade County Tax Collector
_ 200 NW 2nd Avenue
Miami, FL, 33128

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:
Check all that apply.

) Contingent

2 Unliquidated

Q) Disputed

Basis for the claim:

is the claim subject to offset?
J No
C) ves

As of the petition filing date, the claim is:
Check all that apply.

C] Contingent

(J Untiquidated

C) Disputed

Basis for the claim:

Is the claim subject to offset?

~ No

C) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

5 2,450.00

 

38,168.74

34,766.61

 

$250,000.00

$4,552.70

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Debtor Case Marine Construction international, LLC

 

Name

ae Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

5 52

Nonpriority creditor's name and mailing address

Nine Island Avenue Condominium Association,
- Inc.

_ 9 Island Avenue
_ Miami, FL, 33156

Date or dates debt was incurred

Last 4 digits of account number

 

3,53

Nonpriority creditor's name and mailing address

_ Nutting Engineers of Florida

| 8175 W. 32nd Avenue
Suite 1112

Hialeah, FL, 33018

Date or dates debt was incurred

Last 4 digits of account number

 

As of the petition filing date, the claim is:

Check ail that apply.
Contingent
Unliquidated
Disputed

Basis for the claim:

Is the claim subject to offset?
No
] yes

Case number (if known) 23-11357-PGH

 

 

As of the petition filing date, the claim is:

Check all that apply.
C) Contingent
Q) Unliquidated
QO) Disputed

Basis for the claim: Services

ls the claim subject to offset?
No
Yes

 

54
P&L Towing and Transportation, Inc.
14501 SW 21st Street

Fort Lauderdale, FL, 33325

3

 

 

 

Date or dates debt was incurred

Last 4 digits of account number

 

Pirtek Doral
| 6452 NW 77th Court
Miami, FL, 33166

Date or dates debt was incurred

Last 4 digits of account number

 

Nonpriority creditor's name and mailing address

Precision Portables
1840 NW 33rd Street
_ Pompano Beach, FL, 33064

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

Nonpriority creditor's name and mailing address

3.0 |Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:

Check all that apply.
©) Contingent
2 Unliquidated
Q) Disputed

Basis for the claim: Services

Is the claim subject to offset?
¥ No

Ovess

As of the petition filing date, the claim is:

Check all that apply.
(] Contingent
CJ unliquidated
CJ Disputed

Basis for the claim: Services

Is the claim subject to offset?
(4 No
C) Yes

As of the petition filing date, the claim is:

Check all that apply.
Q Contingent

QO unliquidated
OQ Disputed

Basis for the claim: Services

Is the claim subject to offset?
¥ No

QO) Yes

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

3 179,778.62

$12,426.45

313,826.00

37,029.04

32,439.60

 

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Debtor Case Marine Construction International, LLC

Case number (if known)

 

Name

a Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

Nonpriority creditor’s name and mailing address

_ Professional Account Management LLC
_ PO Box 2182
_ Milwaukee, WI, 53201

Date or dates debt was incurred

Last 4 digits of account number

 

3. 58

Nonpriority creditor's name and mailing address

_ ProSight Specialty Management Co.
PO Box 21152
New York, NY, 10087

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

(J Unliquidated

CI Disputed

Basis for the claim: Services

Is the claim subject to offset?
No
Cl yes

23-11357-PGH

Amount of claim

; 86.80

 

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

Q) Untiquidated

QO} Disputed

Basis for the claim: Services

Is the claim subject to offset?
“No

QO) Yes /

 

 

3.53 | Nonpriority creditor's name and mailing address
“Quality Concrete Pumping, Inc.

— 1842 NW 85th Drive
Pompano Beach, FL, 33071

Date or dates debt was incurred

Last 4 digits of account number

RGE Consulting Services, Inc.
11401 SW 40th Street

Suite 245

_ Miami, FL, 33165

 

Date or dates debt was incurred
Last 4 digits of account number
3 Nonpriority creditor’s name and mailing address
Rosselle's Metal, inc.

_ 9070 NW 36th Avenue
Miami, FL, 33147

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

3° Nonpriority creditor's name and mailing address

3 108,502.63

 

As of the petition filing date, the claim is:
Check ail that apply.

Contingent

Unliquidated

Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
Y No

ves

3678.00

 

As of the petition filing date, the claim is:
Check all that apply.

Q] Contingent

Q) Unliquidated

( Disputed

Basis for the claim: Services

Is the claim subject to offset?
a No
QO yes

As of the petition filing date, the claim is:
Check all that apply.
Contingent
Unliquidated
Q Disputed
Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?

¥ No

CQ Yes

Schedule E/F: Creditors Who Have Unsecured Claims

3 300.00

$1,331.67

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Debtor Case Marine Construction International, LLC

 

Name

Ee Additional Page

Case number (if known),

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3. 62

Nonpriority creditor's name and mailing address

S&S National Waste
317 NE 71st Street
Miami, FL, 33138

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

CI Untiquidated

C) Disputed

Basis for the claim: Services

is the claim subject to offset?
No
O Yes

 

 

3,3 Nonpriority creditor's name and mailing address
” S&S National Waste
1480 Skees Road

West Paim Beach, FL, 33411

Date or dates debt was incurred

Last 4 digits of account number

 

3,4

- Sawgrass Enterprises
571 23rd Street
Naples, FL, 34117

Date or dates debt was incurred

Last 4 digits of account number

3,°° Nonpriority creditor's name and mailing address

Shell
910 Louisana Street
» Houston, TX, 77002

Date or dates debt was incurred
Last 4 digits of account number

3,8 Nonpriority creditor’s name and mailing address

 

_ Solid Waste Management
_ 1965 NE 151st Street
_ Miami, FL, 33162

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

Nonpriority creditor’s name and mailing address

As of the petition filing date, the claim is:
Check ail that apply.

(J Contingent

QO} unliquidated

C) Disputed

Basis for the claim: Services

is the claim subject to offset?
“ No
Yes

As of the petition filing date, the claim is:
Check all that apply.

O Contingent

C1 unliquidated

C) Disputed

Basis for the claim; Services

Is the claim subject to offset?
¥ No

Q1 Yes

As of the petition filing date, the claim is:
Check all that apply.

() Contingent

QO) unliquidated

C) Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
J No
Yes

As of the petition filing date, the claim is:
Check all that apply.

CJ Contingent

() Unliquidated

Q) Disputed

Basis for the claim: Services

Js the claim subject to offset?
¥ No

Cl Yes

Schedule E/F: Creditors Who Have Unsecured Claims

23-11357-PGH

Amount of claim

5 14,948.67

3 6,426.54

$3,022.07

53,320.99

$469.47

 

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Debtor Case Marine Construction International, LLC

 

Name

ae Additional Page

Case number (if known) 23-11357-PGH

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3.57 Nonpriority creditor’s name and mailing address

_ Southern Pine Lumber Co.
_ 1100 W. Industrial Avenue
| Boynton Beach, FL, 33426

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:
Check all that apply.

Contingent

Unliquidated

Disputed

Basis for the claim: Suppliers or Vendors
Is the claim subject to offset?

No
C] Yes

Amount of claim

5 1,554.90

 

3,8 Nonpriority creditor's name and mailing address
Supermix

1921 NW 141st Street
Opa Locka, FL, 33054

Date or dates debt was incurred
Last 4 digits of account number
3.°

TB-C. Condominium Association, Inc.
c/o Michele A. Crosa, Esq.

, 400 S. Dixie Highway, Suite 420

| Boca Raton, FL, 33432

Date or dates debt was incurred

Last 4 digits of account number

 

The Home Depot
2455 Paces Ferry Road SE
Atlanta, GA, 30339

Date or dates debt was incurred

Last 4 digits of account number

31 Nonpriority creditor's name and mailing address

Thunder Demolition
7373 NE 3rd Court
_ Miami, FL, 33147

 

Date or dates debt was incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:
Check all that apply.

©) Contingent

2) Unliquidated

OQ) Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
“ No

C] Yes

$23,396.80

 

8 Nonpriority creditor's name and mailing address

3/0 Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:
Check all that apply.

OQ) Contingent

QO) unliquidated

Q) Disputed

Basis for the claim:

ls the claim subject to offset?
“ No

CJ Yes

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent

OQ) unliquidated

QO) Disputed

Basis for the claim: Credit Card Debt

Is the claim subject to offset?
No
Cl ves

As of the petition filing date, the claim is:
Check all that apply.

Q Contingent

 Untiquidated

QO) Disputed

Basis for the claim: Services

ds the claim subject to offset?
¥ No

QO Yes

Schedule E/F: Creditors Who Have Unsecured Claims

3 Unknown

$2,219.70

3 1,950.00

 

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Debtor Case Marine Construction International, LLC

 

Name

Additional Page

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

|

Nonpriority creditor's name and mailing address

_ TJ Pavement Corp.
6600 NW 32nd Avenue
Miami, FL, 33147

Date or dates debt was incurred

Last 4 digits of account number

As of the petition filing date, the claim is:

Check all that apply.
QO) Contingent

QO Untiquidated
O) Disputed

Basis for the claim: Services

Is the claim subject to offset?
No
C] Yes

Case number (if known) 23-11357-PGH

 

 

3,73 Nonpriority creditor's name and mailing address
“ToreSill Foundations, LLC

9005 Southern Boulevard
West Paim Beach, FL, 33411

Date or dates debt was incurred
Last 4 digits of account number

3./

 

‘Trident Environmental
_ 1850 SW 8th Street
Miarni, FL, 33135

Date or dates debt was incurred

Last 4 digits of account number

Truline/Formtech Enterprises, inc.
126 Ben Burton Circle
_ Bogart, GA, 30622

 

Date or dates debt was incurred
Last 4 digits of account number

Nonpriority creditor's name and mailing address

Turrell Hall & Associates Inc.
3584 Exchange Avenue
Naples, FL, 34104

Date or dates debt was incurred

Last 4 digits of account number

Official. Form 206E/F

4 Nonpriority creditor's name and mailing address

3° Nonpriority creditor's name and mailing address

As of the petition filing date, the claim is:

Check all that apply.

C] Contingent
Unliquidated
Disputed

Basis for the claim: Services

Is the claim subject to offset?
“ No

Q] Yes

As of the petition filing date, the claim is:

Check all that apply.

Contingent
OQ) unliquidated
Q) Disputed

Basis for the claim: Services

Is the claim subject to offset?
“ No

Cl Yes

As of the petition filing date, the claim is:

Check all that apply.
Contingent
Unliquidated
Disputed

Basis for the claim: Services

Is the claim subject to offset?
(I No
Yes

As of the petition filing date, the claim is:

Check all that apply.
C] Contingent
QO) unliquidated
CQ] Disputed

Basis for the claim: Services

Is the claim subject to offset?
¥ No

CI Yes

Schedule E/F: Creditors Who Have Unsecured Claims

Amount of claim

5 36,593.96

35,500.00

5600.00

3 49,781.76

310,470.00

 

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Debtor Case Marine Construction International, LLC

 

Name

ee Additional Page

Case number (it known) 23-11357-PGH

 

Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3 77

Nonpriority creditor’s name and mailing address

 

UCI

290 NW 165th Street
' Suite P-350
_ Miami, FL, 33169

Date or dates debt was incurred

Last 4 digits of account number

 

United Rentals
3100 NW 131st Street
Opa Locka, FL, 33054

Date or dates debt was incurred

Last 4 digits of account number

Venetian Isle Condominium, Inc.
801 N. Venetian Drive
Miami Beach, FL, 33139

Date or dates debt was incurred

Last 4 digits of account number

3. 78 Nonpriority creditor’s name and mailing address

3 3 Nonpriority creditor’s name and mailing address

As of the petition filing date, the claim is:
Check all that apply.

Q) Contingent

Q unliquidated

C) Disputed

Basis for the claim: Services

Is the claim subject to offset?
No
Cl) Yes

Amount of claim

5 3,000.00

 

As of the petition filing date, the claim is:
Check all that apply.

Contingent

Unliquidated

Disputed

Basis for the claim: Suppliers or Vendors

Is the claim subject to offset?
< No

QO Yes

As of the petition filing date, the claim is:
Check all that apply.

©] Contingent

Unliquidated

Disputed

Basis for the claim:

Is the claim subject to offset?
v No .

Cl yes

 

3. 80 Nonpriority creditor’s name and mailing address
Waterview Condominium Association, inc. of
Aventuran, Inc.

20505 W. Country Club Drive
Miami, FL, 33180

 

Date or dates debt was incurred

Last 4 digits of account number

331 Nonpriority creditor's name and mailing address
_ White House Distribution

© 1500 Whittenburg Drive
Fort Worth, TX, 76134

 

Date or dates debt was Incurred

Last 4 digits of account number

Official Form 206E/F

As of the petition filing date, the claim is:
Check ail that apply.

Contingent

Unliquidated

Disputed

Basis for the claim:

Is the claim subject to offset?
(I No
Q) Yes

As of the petition filing date, the claim is:
Check all that apply.

OQ Contingent

C} Untiquidated

Cl Disputed

Basis for the claim: Services

ts the claim subject to offset?
¥ No

C Yes

Schedule E/F: Creditors Who Have Unsecured Claims

3 68,549.41

3 Unknown

3 Unknown

3 1,455.00

 

 

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Case Marine Construction International, LLC 23-11357-PGH

Debtor Case number (i known),
Name

a Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.

Total of claim amounts

 

5a. Total claims from Part 1 5a. $ 11,672.78
5b. Total claims from Part 2 5b. - § 1,524,420.32
5c. Total of Parts 1 and 2 5c g 1,036,093.10

Lines 5a + 5b = 5c.

 

 

 

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 20of 20
Case 23-11357-PGH Doc 25 Filed 03/21/23 Page 34 of 50

UDR CU ECs CMe CCM m Ut eRor cron

Debtor name Case Marine Construction International, LLC

United States Bankruptcy Court for the: Southern District of Florida
23-11357-PGH

Case number (If known):

 

 

J Check if this is an

Official Form 206H amended filing
Schedule H: Codebtors 4OM5

 

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.

_ 1. Does the debtor have any codebtors?
LI No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

id Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
: creditors, Schedules D-G. Include all guarantors and co-obligors. in Column 2, identify the creditor to whom the debt is owed and each
schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1: Codebtor Column 2: Creditor

Check ail schedules
Name Mailing address Name that apply:

9, Joseph Woodworth U.S. Small Business
Administration

oos
amo
nn

2.2

oOon

James Case U.S. Small Business Adm

 

 

23

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Q
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24

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25

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oO

26

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amo
wv

Official Form 206H Schedule H: Codebtors page 1 of 1

 
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PREM iiur erm CMC Cinta iit mer crn

Debtor name Case Marine Construction International, LLC

United States Bankruptcy Court for the: Southern District of Florida

Case number (If known): _23-11357-PGH

 

 

C] Check if this is an
amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

1. Gross revenue from business

 

(4 None
Identify the beginning and ending dates of the debtor's fiscal year, which Sources of revenue Gross revenue
may be a calendar year Check all that apply (before deductions and
exclusions)
From the beginning of the (C] Operating a business
fiscal year to filing date: From to Filing date C) other $
MM/DD/YYYY
For prior year: From to (] Operating a business 5
MM/DD/YYYY MM/DD/YYYY C otner
For the year before that: From to L] Operating a business
MM/DD/YYYY MM/DD/YYYY CO) other $

2. Non-business revenue

Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

 

 

4 None
Description of sources of revenue Gross revenue from each
source
(before deductions and
exclusions)
From the beginning of the
fiscal year to filing date: From to Filing date 3
MM/DD/YYYY
For prior year: From to
MM/DD/YYYY MM/DD/YYYY $
For the year before that: = From to
MM /DD/YYYY MM/DD/YYYY $

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 1

 
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Debtor Case Marine Construction International, LLC Case number (known 23-11357-PGH

 

Name

a List Certain Transfers Made Before Filing for Bankruptcy

3, Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90
days before filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be
adjusted on 4/01/23 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

id None

Creditor’s name and address Dates Total amount or value Reasons for payment or transfer

Check ail that apply
3.4,

Secured debt

 

Credilor’s name
Unsecured loan repayments

Suppliers or vendors

Services

Ooocooo

Other

nt

3.2.
Secured debt

 

Creditor’s name Unsecured loan repayments

Suppliers or vendors
Services

Other

Ooogoog

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
$7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
relatives; general partners of a partnership debtor and their relatives: affiliates of the debtor and insiders of such affiliates; and any managing
agent of the debtor. 11 U.S.C. § 101(31).

 

 

 

i@ None
Insider's name and address Dates Total amount or value Reasons for payment or transfer
4.1,
- $
Insider's name
Relationship to debtor
4.2.
Insider's name
$

 

 

Relationship to debtor

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 2

 
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Case Mari i i - -
Debtor ase Marine Construction International, LLC Case number ¢rinown 23-11357-PGH

 

Name

 

5. Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller, Do not include property listed in line 6.

] None

 

 

Creditor’s name and address Description of the property Date Value of property
5.1. '
. $
Creditar’s name
§.2.
Creditor’s name te $
6. Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a debt.

@] None

Creditor's name and address Description of the action creditor took Date action was Amount
taken

 

Creditor's name

Last 4 digits of account number: XXXX~

a Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
was involved in any capacity—within 1 year before filing this case.

 

C) None
Case title . Nature of case Court or agency’s name and address Status of case
international Construction Equipment 11th Judicial Circuit Court, Miami-Dade
71. Inc. v. Case Marine Construction County, Florida Pending
international LLC QO
On appeal
Case number 73 W. Flagler Street CQ concluded
Miami, FL 33131
22-22654 CA 31
Case title Court or agency's name and address i |
2 Matthew J. Allen, etc. v. Case Marine 11th Judicial Circuit Court, Miami-Dade Pending
“ Construction International, LLC County, Florida CJ on appeal
C) conctuded
Case number 73 W. Flagler Street

 

Miami, FL 33131

 

21-4739 CA 24

 

 

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Case Marine Construction International, LLC
Debtor
Name

Case number (i known) 23-11357-PGH

 

8. Assignments and receivership

List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

 

 

 

@) None
Custodian’s name and address Description of the property Value
$
Custodian’s name
Case title Court name and address
Name

Case number

 

Date of order or assignment

 

Certain Gifts and Charitable Contributions

 

List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
of the gifts to that recipient is less than $1,000

 

 

 

 

 

 

 

2) None
Recipient's name and address Description of the gifts or contributions Dates given Value
————._ $
34. Recipient's name
$
Recipient's relationship to debtor
9.2 il i $
*< Racipient's name
$
Recipient’s relationship to debtor
er Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.
«Z} None
Description of the property lost and how the loss Amount of payments received for the loss Date of loss Value of property
occurred If you have received payments to cover the loss, for lost
example, from insurance, government compensation, or
tort liability, list the total received.
List unpaid claims on Official Form 106A/B (Schedule A/B:
Assets ~ Real and Personal Property).
$
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 4

 
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Debtor Case Marine Construction International, LLC Case number (mown) 23-11357-PGH

Name

au Certain Payments or Transfers

11. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before

the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
seeking bankruptcy relief, or filing a bankruptcy case.

 

 

LJ None
Who was paid or who received the transfer? H not money, describe any property transferred Dates Total amount or
value
Jeffrey S. Berlowitz, P.A.
144. $ 10,000.00

Address
169 E. Flagler Street

Suite 700
Miami, FL 33131

Email or website address

 

Who made the payment, if not debtor?

 

 

Who was paid or who received the transfer? If not money, describe any property transferred Dates Total amount or
value
11.2,
$
Address

Email or website address

 

Who made the payment, if not debtor?

 

12. Self-settied trusts of which the debtor is a beneficiary

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
a self-settled trust or similar device.

Do not include transfers already listed on this statement.

 

 

4 None
Name of trust or device Describe any property transferred Dates transfers Total amount or
were made value
$
Trustee

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 5

 
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Debtor Case Marine Construction International, LLC Case number known 23-11357-PGH

Name

 

 

13. Transfers not already listed on this statement

List any transfers of money or other property—by sale, trade, or any other means-~made by the debtor or a person acting on behalf of the debtor
within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

 

 

 

i None
Who received transfer? Description of property transferred or payments received Date transfer Total amount or
or debts paid in exchange was made value
13.1. $
Address
Relationship to debtor
Who received transfer? $
13.2.
Address
|
i Relationship to debtor

 

 

Previous Locations

 

 

 

 

14.Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
YW Does not apply
Address Dates of occupancy
14.1. From To
14.2. From To
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 6

 
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Debtor Case Marine Construction international, LLC Case number littnown 23" | 1857-PGH

Name

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
-— diagnosing or treating injury, deformity, or disease, or
— providing any surgical, psychiatric, drug treatment, or obstetric care?

 

 

No. Go to Part 9.
C] Yes. Fill in the information below.
Facility name and address Nature of the business operation, including type of services the ff debtor provides meals

debtor provides and housing, number of
patients in debtor's care

 

15.1,
Facility name
Location where patient records are maintained (if different from facility
address). If electronic, identify any service provider. How are records kept?
Check all that apply:
Q Electronically
) Paper
ee Nature of the business operation, including type of services the lf debtor provides meals
Facility name and address debtor provides and housing, number of
patients in debtor’s care
15.2.

 

Facility name

Location where patient records are maintained (if different from facility How are records kept?
address). If electronic, identify any service provider.

Check all that apply:

CJ Electronically
) Paper

Ear Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?
No.
C) Yes. State the nature of the information collected and retained.
Does the debtor have a privacy policy about that information?

C) No
CQ) Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
pension or profit-sharing plan made available by the debtor as an employee benefit?

 

 

W1 No. Go to Part 10.
Yes. Does the debtor serve as plan administrator?

CJ No. Go to Part 10.

Cl Yes. Fill in below:

Name of plan Employer identification number of the plan

 

EIN:

 

Has the plan been terminated?

C] No
C] Yes

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 7

 
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Debtor Case Marine Construction International, LLC Case number (itknown) 2071 1357-PGH

Name

 

Ear Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts

Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?

Include checking, savings, money market, or other financial accounts: certificates of deposit; and shares in banks, credit unions,
brokerage houses, cooperatives, associations, and other financial institutions.

 

 

id None
Financial institution name and address Last 4 digits of account Type of account Date account was Last balance
number closed, sold, moved, before closing or
or transferred transfer
18.1. XXXXe CY checking 5
Name gQ .
Savings
Q Money market
Q Brokerage
Q other
18.2. XXXX- CQ checking $
Name Q Savings

Q) Money market
C) Brokerage
Q Other.

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

id None

 

Depository institution name and address Names of anyone with access to it Description of the contents cat aeeter
LI No
Name O Yes
Address

20. Off-premises storage

List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

None
Facility name and address Names of anyone with access to it Description of the contents Does debtor
still have it?
LI No
CJ] Yes
Name

 

 

Address

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 8

 
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Debtor Case Marine Construction international, LLC Case number tirknown) 23-11357-PGH

 

Name

Petkna) Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another

List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
trust. Do not list leased or rented property.

KI None

Owner’s name and address Location of the property Description of the property Value

 

Name

Ea Details About Environmental Information

For the purpose of Part 12, the following definitions apply:

"Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
regardless of the medium affected (air, land, water, or any other medium).

a Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
formerly owned, operated, or utilized.

% Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
or a similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22.Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

No
( Yes. Provide details below.

 

 

Case title Court or agency name and address Nature of the case Status of case
Q Pending

Case number Name (CQ on appeal
UC) concluded

 

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
| environmental law?

kd No
C] Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice

 

Name Name

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 9

 

 
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Debtor Case Marine Construction International, LLC Case number (irknown) 23-11357-PGH

 

Name

 

 

24. Has the debtor notified any governmental unit of any release of hazardous material?
J No
() Yes. Provide details below.

Site name and address Governmental unit name and address Environmental law, if known Date of notice

 

Name Name

ae Details About the Debtor’s Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest

List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

 

 

 

W) None
Business name and address Describe the nature of the business Employer identification number
Do not include Social Security number or ITIN.
EIN:
25.1,
Name Dates business existed
From To
: Describe the nature of the business Employer Identification number
usiness name and addres
25.2. Business name and address Do not include Social Security number or ITIN.
EIN:
Name Dates business existed
From To
Business name and address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.
25.3, EIN:
Name

Dates business existed

 

From To

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 10

 
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Debtor Case Marine Construction International, LLC Case number trknown) 23-11357-PGH

 

Name

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

 

i None
Name and address Dates of service
Fr
26a.1. om
Name

To

Name and address Dates of service

From
26a.2.

 

Name

To

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
statement within 2 years before filing this case.

 

 

xd None
Name and address Dates of service
From
26b.1.
Name To
Name and address Dates of service
From
26b.2.
Name To

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

 

None
Name and address If any books of account and records are
unavailable, explain why
26c.1.
Name

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 11

 

 
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Case Marine Construction International, LLC

 

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Debtor Case number titknown_ 2371 1357-PGH
Name
Name and address If any books of account and records are
unavailable, explain why
26c.2.

 

Name

within 2 years before filing this case.

(a None

Name and address

26d.1.

 

Name

Name and address

26.2.

 

Name

27. Inventories

Have any inventories of the debtor's property been taken within 2 years before filing this case?
ld No

C] Yes. Give the details about the two most recent inventories.

Name of the person who supervised the taking of the inventory Date of

inventory

 

Name and address of the person who has possession of inventory records

27.1.

 

Name

Official Form 207

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement

The dollar amount and basis (cost, market, or
other basis) of each inventory

5

page 12

 

 

 

 
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Debtor Case Marine Construction International, LLC Case number renown 237 | 1357-PGH
Name
Name of the person who supervised the taking of the inventory Date of The dollar amount and basis (cost, market, or
inventory other basis) of each inventory
5.

 

 

Name and address of the person who has possession of inventory records

27.2.

 

Name

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
people in control of the debtor at the time of the filing of this case.
Name Address

Position and nature of any interest % of interest, if any
Joseph Woodworth

29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

 

No
C) Yes. Identify below,
Name Position and nature of any Period during which position
Address interest or interest was held

To
To
To
To

30. Payments, distributions, or withdrawals credited or given to insiders

Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
bonuses, loans, credits on loans, stock redemptions, and options exercised?

Y) No
C] Yes. Identify below.

 

 

 

Amount of money or description Dates Reason for providing
Name and address of recipient and value of property the value
30.1.
Name
Relationship to debtor
Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 13

 
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Debtor Case Marine Construction International, LLC
Name

Case number (if known), 23-11357-PGH

 

Name and address of recipient

 

30.2

 

Name

Relationship to debtor

 

31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

No
C) Yes. identify below.

Name of the parent corporation Employer Identification number of the parent

corporation

EIN:

 

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
No

Ql Yes. Identify below.

Name of the pension fund

a Signature and Declaration

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

Employer Identification number of the pension fund
EIN:

 

i | have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 09/21/2023
MM /DD /YYYY

x /s/ Joseph Woodworth

Signature of individual signing on behalf of the debtor

Printed name Joseph Woodworth

Position or relationship to debtor Manager

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
(2 No
Yes

 

Official Form 207 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy page 14

 
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Case Marine Construction International, LLC 23-11357-PGH
Debtor Name Case number (itknown)

Continuation Sheet for Official Form 207

7) Legal Actions

Nine Island Avenue Condominium Association, Inc. v. Case Marine Construction
International, LLC

21-8508 CA 09

lith Judicial Circuit Court, Miami -Dade County, Florida

73 W. Flagler Street, Miami, FL 33131

Pending

Stephen J. Beers v. Case Marine Construction International, LLC
20-199969 CA

17th Judicial Circuit Court, Broward County, Florida

Pending

Official Form 207 Statement of Financial Affairs for Non-Individuals
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UU RUCRECU COLE CE ULL RuL Rec erRUV EM isp

Case Marine Construction International, LLC
Debtor Name

 

United States Bankruptcy Court for the: Southern District of Florida

Case number (if known): 23-11357-PGH

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,

and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 90114.

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.

a ration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
another individual serving as a representative of the debtor in this case.

{ have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

i

Schedule A/B: Assets~Real and Personal Property (Official Form 206A/B)

J

Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

i

Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

&

Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

§

Schedule H: Codebtors (Official Form 206H)

&

Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

Amended Schedule

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)

Oo oO

Other document that requires a declaration

| declare under penalty of perjury that the foregoing is true and correct.

 

Executed on 03/21/2023 X /s/ Joseph Woodworth
MM /DD/YYYY Signature of individual signing on behalf of debtor
Joseph Woodworth

 

Printed name

Manager

Position or relationship to debtor

 

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors
